             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:12-cr-00066-MR-DSC


UNITED STATES OF AMERICA,       )
                                )
                                )
          vs.                   )              ORDER
                                )
                                )
(1) DONNA DEVONA;               )
(2) JOHN DEVONA;                )
(3) NANCY DIRAFFAELE;           )
(4) GARY HOFFMAN; and           )
(5) RONALD WALSH.               )
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     THIS MATTER is before the Court on Defendant John Devona’s

Motion to Continue Trial Term and Plea Deadline [Doc. 39]; Defendant

Donna Devona’s Motion to Continue [Doc. 40]; and Defendant Ronald

Walsh’s Motion to Join with Motion to Continue filed by Defendant John

Devona [Doc. 41].

     On June 20, 2012, the Defendants Donna Devona, John Devona,

Nancy Diraffaele, Gary Hoffman, and Ronald Walsh were charged in a Bill

of Indictment with conspiracy to possess with intent to distribute a quantity

of opium poppy, in violation of 21 U.S.C. § 846 and 841(a)(1), and

conspiracy to commit money laundering, in violation of 18 U.S.C. §



    Case 1:12-cr-00066-MR-DLH   Document 42    Filed 02/19/13   Page 1 of 5
1956(h). [Doc. 1]. Defendants Diraffaele and Hoffman made their initial

appearances on June 28, 2012. After these Defendants waived their right

to appear personally for an arraignment, Orders were entered scheduling

their cases for trial during the Court’s August 27, 2012 trial term.

Defendants Donna Devona, John Devona, and Ronald Walsh were

arraigned on July 25, 2012, and their cases were also added to the August

27, 2012 calendar.

      Defendant Diraffaele then moved to continue the trial of this matter.

[Doc. 27]. The Court granted the requested continuance and continued all

of the Defendants’ cases to the November 5, 2012 trial term. [Doc. 28]. In

October 2012, Defendants John Devona and Donna Devona moved for

another continuance of the case, citing the extensive discovery produced

by the Government. [Docs. 32, 33]. The Court granted these motions and

continued all of the Defendants to the January 7, 2013 term. [Doc. 34].

Subsequently, on December 7, 2012, Defendant John Devona filed another

motion for continuance [Doc. 35], which the Court denied without prejudice.

[Doc. 36].

      Defendant Ronald Walsh then moved for another continuance, citing

the production of voluminous new discovery and the need for additional
                                     2




    Case 1:12-cr-00066-MR-DLH   Document 42   Filed 02/19/13   Page 2 of 5
time to engage in plea negotiations.      [Doc. 37].     The Court granted

Defendant Walsh’s motion, and continued the entire case to its present

setting during the March 4, 2013 term. [Doc. 38].

      Defendants John Devona and Donna Devona now move for another

continuance of the trial date. [Docs. 39, 40]. For grounds, counsel states

that John Devona, who is a resident of Florida, recently suffered both a

cervical and a head injury, which have interfered with his memory,

concentration, and decision-making ability. Counsel states that Devona’s

treating physicians have recommended that he not travel until further

notice. Counsel further states that Defendant Donna Devona is heavily

involved in the care of her husband and therefore is also unable to travel

until further notice.   [Doc. 40]. Defendant Walsh, who is Defendant John

Devona’s step-son, joins in these motions. [Doc. 41]. The Government

does not oppose the requested continuance. [Docs. 39, 40].

      The Court finds that this case should be continued. Specifically, the

Court finds that if the requested continuance were not granted, counsel

would not have an adequate opportunity to prepare for trial. The Court

therefore finds that a failure to continue the case “would deny counsel for

the defendant . . . the reasonable time necessary for effective preparation,
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    Case 1:12-cr-00066-MR-DLH    Document 42   Filed 02/19/13   Page 3 of 5
taking into account the exercise of due diligence.”             18 U.S.C. §

3161(h)(7)(B)(iv). Additionally, without the requested continuance, counsel

would not have the ability to engage in meaningful plea negotiations, which

would result in a miscarriage of justice. See 28 U.S.C. § 3161(h)(7)(B)(i).

     Because no motion for severance has been granted, the continuance

of Defendants John Devona and Donna Devona justifies the continuance of

the other Defendants as well. See 18 U.S.C. § 3161(h)(6) (allowing for

exclusion of “a reasonable period of delay when the defendant is joined for

trial with a codefendant as to whom the time for trial has not run and no

motion for severance has been granted”).

     For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and

the Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

     Accordingly, IT IS, THEREFORE, ORDERED that Defendant Ronald

Walsh’s Motion to Join with Motion to Continue filed by Defendant John

Devona [Doc. 41] is GRANTED.

     IT IS FURTHER ORDERED that Defendant John Devona’s Motion to

Continue Trial Term and Plea Deadline [Doc. 39] and Defendant Donna

Devona’s Motion to Continue [Doc. 40] are GRANTED, and the cases of
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    Case 1:12-cr-00066-MR-DLH    Document 42   Filed 02/19/13   Page 4 of 5
Defendants John Devona, Donna Devona, Nancy Diraffaele, Gary

Hoffman, and Ronald Walsh are hereby CONTINUED from the March 4,

2013 term in the Asheville Division.

     IT IS SO ORDERED.          Signed: February 18, 2013




                                          5




    Case 1:12-cr-00066-MR-DLH     Document 42               Filed 02/19/13   Page 5 of 5
